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 UNITED STATES DISTRICT COURT                                             DOCUMENT
 SOUTHERN DISTRICT OF NEW YORK                                            ELECTRONICALLY FILED
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                                                                         DATE FILED: "d-i / i 5/ l'7<
 JOHN J. RIGAS and TIMOTHY J. RIGAS,
                                                         11 CV 06964 IJ
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                           Petitioners,
                                                         ORDER
                          V.

 UNITED STATES OF AMERICA,

                           Respondent.



KIMBA M. WOOD, District Judge:

       The Court has reviewed the discovery-related letters filed recently by counsel. Given the

length of discovery to date, and the age of this case, the Court will not grant the extended

deadlines sought by counsel.

       Counsel must comply with the following deadlines:

       1.     Close of document discovery: April 6, 2018.

               a.   Counsel must identify any discovery motions regarding documents in time for

                    the briefing to be completed by April 6, 2018.

       2.     Any subpoenas of third parties:

              a.    Counsel must identify any motions relating to subpoenas of third parties in

                    time for the briefing to be completed by April 13, 2018.

       3.      Close of all discovery: April 27, 2018.

               a.   Counsel must identify any other motions relating to discovery from anyone in

                    time for the briefing to be completed by April 27, 2018.

       4.      Petitioners' briefs regarding any of their claims: May 4, 2018.

               a.   Government Response: May 18, 2018.
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            b.   Any Reply by Petitioners: May 25, 2018.

      Counsel must understand that these are firm dates, and should not expect any

adjournments.

       SO ORDERED.


Dated: New York, New York
       February 15, 2018                            .


                                                    THE HON. KIMBA M. WOOD
                                                    United States District Judge




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